     Case 2:09-cv-01750-GBD Document 461 Filed 05/26/11 Page 1 of 2




 UNITED STATES DISTRICT COURT
 SOLJTHERN DISTRICT OF NEW YORK                       IIUSDCSDNY                       ,   !


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                                                      1ELEd'rRONICALT.Y FILED
 COMMODITY FUTURES TRADfNG
 COMMISSION,                                           DOC #:
                        Pluintif(
                                                        DATEFil£:MAY  26 20n
                                                                   - - : -:;'
       - against

 STEPHEN \\iALSH, PAUL GREENVlOOD,
 WESTRlDGE CAPITAL MANAGEMENT, INC.,
                                               Civ;J Aclion   '-"~9-CV   1749 (GRIlJ
 WG TRADING INVESTORS, LP, and WorA,
 I,Ll',

                        Defendant~,

WESTRlDGE CAPl'IAl MANJ\GEMENT
ENHANCEMENT FUNDS INC., WG TRADNG
COMPAl'.'Y LP, WGr LLC, K&l
1l'.'VESTtv1ENTS, and JANET W ALSI I,

                       Rc lief De fendants.


SECURITIES AND EXCHANGE COMMISSION,

                       Plaintiff:
     - against ­

we TRADING INVESTORS, LP, WO TRj\D1NG         Civil Action >./0, 09-CV -1750 (GBD)
COMPANY LlM1TED PART!'\ERSHIP,
WESTRlDGE CAPITAL MANAGEMEj\;T, INC.,
PJ\ tiL GREE~WOOD, and STEP1·IE"J WALSH,

                       Defendunts,

RomN GREENWOOD and JANET WALSH,


                      Relief DelCndanls.




       STIPULATION AND ORlJIu( FOR SUBSTITCTION OF COUNSEL
       Case 2:09-cv-01750-GBD Document 461 Filed 05/26/11 Page 2 of 2




                   IS Hr:REBY STlPULATED AND AGREED, by and among the undersigned

attorneys and upon the consent of Alexander Dawson foundation and Alexander Davvson Inc"

that, pursuant to Local Civil Rule lA, the law firm of Kirkland & Ellis LLP, with offices at 601

Lexington Avenue, N C\v York, Nc\\' York l0022, shall withdraw as attorney of record for

interested parties Alexander Dawson FOWldation and Alexander Dawson Tnc, in the above-

captioned maHers, and, in its place, the law firm of MoloLamken LLP, with offices located at

540 l\.'loclison A venuc, Ncw York, :-';cw York 10022, sh\:l11 be substi tuted as attorney of record for

Aicx,mcicr Dawson Foundation and Alexander Dawson Inc, in the above-captioned matters,


Dated: New York,           Yor){
       Mu: 20,2011




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        SO ORDERED                                         MAY 262011
